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       No. 21-1365
           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SECOND CIRCUIT
Selina Soule, a minor, by Bianca Stanescu, her mother; Chelsea Mitchell,
   a minor, by Christina Mitchell, her mother; Alanna Smith, a minor,
     by Cheryl Radachowsky, her mother; Ashley Nicoletti, a minor,
                    by Jennifer Nicoletti, her mother,
                                 Plaintiffs-Appellants,
                                    v.
Connecticut Association of Schools, Inc. d/b/a Connecticut Interscholastic
   Athletic Conference; Bloomfield Public Schools Board of Education;
 Cromwell Public Schools Board of Education; Glastonbury Public Schools
 Board of Education; Canton Public Schools Board of Education; Danbury
                   Public Schools Board of Education,
                                 Defendants-Appellees.
                                   and
  Andraya Yearwood; Thania Edwards, on behalf of her daughter, T.M.,
            Commission on Human Rights and Opportunities,
                                 Intervenor-Defendants-Appellees.

               On Appeal from the United States District Court
              for the District of Connecticut, No. 3:20-cv-00201

   BRIEF OF 73 FEMALE ATHLETES, COACHES, SPORTS OFFICIALS,
      AND PARENTS OF FEMALE ATHLETES AS AMICI CURIAE
                  IN SUPPORT OF APPELLANTS

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                                                      pro hac vice pending
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                                  Interest of Amici Curiae 1
    Since the founding of this nation, equality has been a constant struggle for

various people groups. When the struggle has reached this Court, this Court has

consistently been willing to consider how to uphold equal protection, equality of

opportunity, and equal rights for all persons in these United States.

    Here, the need to protect the equality of women is at issue. Sports is the new
playing field, but the ultimate victory sought is for equality. Amici are 73 female

athletes, coaches, teammates, parents, and relatives of these athletes 2. These

athletes come from many levels of playing – from elementary school to collegiate;

from professional to Olympic. No matter their level of accomplishment, their years

in their chosen sport, or their age – some minors and some adults – all have been

forced to compete against males or to suffer the psychological impact of helplessly

watching the forced competition of men against women. Each of the amici who

have signed on to this brief have a unique story to tell that all weave a common

thread essential to this Court’s consideration of Soule’s appeal.

    Among the 73 athletes, coaches, and family members are: (i) Martina
Navratilova, 59x Grand Slam Champion; (ii) Nancy Hogshead-Makar, Olympic Gold

Medalist, celebrated civil rights lawyer, former president of the Women’s Sports

Foundation; (iii) Donna de Varona, Olympic Gold Medalist, World Record Holder,


    1
      In accordance with Local Rule 29.1(b) and Federal Rule of Appellate Procedure 29(a)(4)(E)),
counsel affirms that no counsel for any party authored this brief in whole or in part and that no
person or entity other than amici or their counsel made a monetary contribution intended to
fund the preparation and submission of this brief.
    2
        Athletes, coaches, and family members are identified in the Appendix to this Brief.
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Emmy award winner, former president of the Women’s Sports Foundation; (iv)

Donna Lopiano, Ph.D., six-time National Champion softball player, nine-time All-

American, National Sports Hall of Famer, one of the “Ten Most Powerful Women in

Sports” and one of the “100 Most Influential People in Sports,” former Women’s

Athletic Director at the University of Texas, former president of the Association for

Intercollegiate Athletics for Women, and former president of the Women’s Sports
Foundation; (v) Jennifer Sees, former NCAA track and field athlete, high school

track coach, and parent of an NCAA soccer player; (vi) Summer Sanders, Olympic

Gold Medalist; (vii) Courtney DeSoto, mother of a high school female athlete; (viii)

Jill Sterkel, an Olympic swimmer, former world record holder, and former

University of Texas head swim coach; (ix) Madisan Debos, current NCAA track

athlete; (x) Laura Wilkinson, an Olympian and World Champion in diving and parent

to a daughter; and (xi) Evie Edwards, a cyclist and the mother of an elementary-age

female cyclist.

    Amici demonstrate, through painfully lived experiences, that Soule’s situation

is tragically not unique. Female athletes across the country, at all levels of sports,
stand on the precipice of permanently losing their access to equal opportunity and

safety in sports. Based on their biological sex, they are at risk of being pushed aside

in law and in life in a permanently damaging and irreversible way.

    By bringing their names, their voices, and their personal stories to this Court’s

attention, amici hope to highlight the plea of women and girls across the nation:

that this Court affirm their continued right to equal opportunity and to set in



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granite that females may not be put at a clear and targeted disadvantage based on

their biological sex.

                         Summary of the Argument
    Amici offer an argument that uniquely supplements Soule’s bold defense of

females’ equal rights. By finding for Soule, this Court can reaffirm that women

should not lose their equal opportunity to compete in sports on a level playing field.
and ensure that females’ basic right to be treated equally is still the legal norm in

the United States. In order for women and girls to be able to talk frankly about their

biology and the impact of their sex in sport and in life, the words “female,” “girl,”

and “woman” are an essential recognition of scientific reality throughout this brief.

Accurate language that clearly describes the biological existence of female humans

must have priority over language of preferred personal identification. This is the

only way to protect the rights, equality, and safety of female athletes.

    A growing number of women and girls have been facing the humiliating and

damaging experience of being forced to compete against males who identify as

transgender in the women’s sports category. This is an abusive and discriminatory
practice. Amici ask this Court to affirm the protection of women and girls. One male

competing against women and girls negatively affects every girl he competes with

as well as every girl who loses a playing opportunity and every girl who must

witness a female athlete being asked to step aside for the feelings of a male despite

the knowledge that it is unfair to ask her to do so.

    Amici’s experiences as athletes, coaches, parents, and relatives of female

athletes prove that females are uniquely and adversely affected when they are

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forced to compete against males in sports. Their personal stories demonstrate that

females and males cannot experience or compete in physical sports in the same

way; that the psychological, tangible, and long-term harm suffered by females

forced to compete against males is irreversible; and that females across the nation

at all levels of sports are suffering real harm that threatens their right to basic

equality, safety, and equal opportunity under the law.


                                    Argument


I.   Females are uniquely and adversely affected when they are forced to
     compete against males in sports.
     It is hard to express the pain, humiliation, frustration, and shame women

experience when they are forced to compete against males in sport. It is public

shaming and suffering, an exclusion from women’s own category. The message to

women and girls, 50% of our population, is shared by the parents, teammates, and

spectators who watch it unfold. The shame does not disappear after competition

is over. It stays forever as a memory of sanctioned public ridicule and a reminder
of how women should expect to be treated and set aside for the needs and desires

of males.

     At every age and every level, a female athlete deserves to know she is worthy

of respect and fair competition against other females. She should not have to reach

elite status to finally be deemed good enough to play without facing sex

discrimination. College women’s teams do not play against college men’s teams;

the high school girls’ basketball team does not play against the boys’ basketball


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team. The individual men’s and women’s state champion in tennis do not play

against each other to determine who is the actual champion. The women’s Olympic

sprint champion does not race the men’s champion.

    This kind of competition is not allowed because we understand the result

would almost always serve to humiliate women. It is not real or fair competition.

We know the outcome because the numbers, science, and physical realities predict
it with concrete assurance. A far less talented and skilled male will soundly beat a

female. With this knowledge, we know the contests would merely be a

predetermined public display of the physical differences between males and

females. Such competition robs women and girls of a place to be held up in equal

value to boys and men. In fact, it solidifies and reinforces that they are not worthy

of equal opportunity and recognition.

    Each stage of a girl’s sports development path provides the opportunity to play

– from granting her the last spot on the team to the first-place podium. These

experiences – which start at a young age – create inspiration, self-belief, resilience,

and confidence – things every girl should be able to seek fairly and with equal
opportunity to her male counterparts. We know the names of women like Martina

Navratilova because these pathways and opportunities have been protected for

females from a young age to the most competitive levels.


    A. Females and males cannot experience or compete in physical sports in
       the same way.




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    There is enormous emotional trauma that accompanies women and girls when

they are subject to competing against males in their sports opportunities. This

trauma is grounded in real science and an understanding of our physical world as

women; it is not a figment of our imagination. As athletes, coaches, and spectators

of sport, we know there is a clear and obvious physical difference between boys

and girls. We know the physical development of boys – beginning in utero – results
in a performance difference between boys and girls. See Carole Hooven, T: The

Story of Testosterone, the Hormone that Dominates and Divides Us (2021). We see

this play out in sports and physical activity at every age and every level.

    Physical fitness tests and records for youth sports showcase a measurable

performance disparity between males and females at every age. The genetic gene

expressions that differ between males and females number over 6,000 and are not

limited to: height, body mass, skeletal structure, strength, muscle quality, center of

gravity, limb length ratios, cardiovascular performance, and, of course,

reproductive influence. See EN Hilton & TR Lundberg, Transgender Women in the

Female Category of Sport: Perspectives on Testosterone Suppression and
Performance Advantage, Sports Med. (March 2021); ML Blair, Sex-based

differences in physiology: what should we teach in the medical curriculum?, Adv

Physical Educ. (March 2007); and KM Haizlip, BC Harrison, & LA Leinwand, Sex-

based differences in skeletal muscle kinetics and fiber-type composition, Physiology

(Bethesda) (Jan. 2015). The effects of any amount of male puberty and

androgenization make those early performance differences explode even further.



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    As athletes, coaches, and parents of female athletes, we know this because we

live it. We see and understand that the average age at which male athletes will beat

the world records of women is 14-15 years of age. See the details of records listed

on the Boys v. Women website: https://boysvswomen.com/#/world-record. The

use, weight, and design of sports equipment such as bikes, balls, bats, javelins,

discs, and suits, as well as playing fields and net heights reflect the biological
differences between boys and men and girls and women and are designed to

optimize the competition. At every level, we are aware that less skilled, less

determined males beat higher level female athletes because of innate physical

difference in the sexes. Physical and developmental differences should not mean

that girls and women are less worthy of participating, competing, and winning in

sport. Females are half of the world’s population and deserve equal opportunities

as much as males.


    B. The psychological, tangible, and long-term harm suffered by females
        forced to compete against males is irreversible.
    When women and girls are asked to compete against male athletes, they are
asked to ignore biological reality, the reality that defines female physical bodies.

They are asked to pretend there is no hardship or difference in competing against

male development that began in utero and resulted in differences in muscle

structure, bone structure, response and reaction times, bone density, and finally,

reproductive influences, such as monthly cycles and possible pregnancy. They are

asked to ignore almost all their lived experiences. This expected disconnection from



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reality has a very real psychological impact. It tells female athletes, their coaches,

and their family members that female bodies don’t matter enough to be

recognized. This message is received when girls and women are told that rules in

their sports don’t need to be fair and that female bodies don’t have equal

representation on a playing field. Women’s and girls’ positions can be taken by a

male if he requests to play with females, despite his physical advantages. Women
and girls must stand by as boys and men now have a claim to female spaces, in

addition to their own full male teams.

    The girl who loses her place or her chance to compete must watch a male take

a place that was set aside for her. She not only has to deal with a loss; but she must

also deal with the psychological trauma that comes from knowing that the loss was

not just, fair, or equal; it was an ‘extra’ spot given to a male – one she had no equal

opportunity to compete for. The girls around her must watch a male supplant a

place that was once set aside for women. This is mental torture for them. See

Courtney E. Ackerman, Learned Helplessness: Seligman’s Theory of Depression,

(March 2018). Women and girls know this means their fair treatment and their
equal opportunity are no longer recognized as important. They are not protected

or safe in their own sports. The girls competing receive the message that their

competition is not important enough to demand integrity and fairness, while they

witness firsthand that the males’ competition and demands are always enough.

The damage this causes is irreversible.

    As athletes, coaches, and parents of female athletes, we are left with

questions. How are we not seen working and training and striving – only to be

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beaten by a male who has less objective talent and skill but is able to rely on innate

male advantage? How have we come to a place where we no longer have fair and

equal opportunities in sports and where females are excluded from our own

podiums, our own teams, and our own championships because we are expected to

affirm males who wish to have our place? How are we expected to compare

ourselves to males who everyone knows are physically stronger and biologically
different? Why are women not allowed to have a female champion when there is

already a male champion – whose place we could never take? Why does a male get

to take a female’s place on a team or in a race because it will help him feel better?

If the measurement is feelings, why do our feelings not count? Will this Court agree

that females no longer have the right to equal opportunities in real competitions?

Females are suffering irreversible psychological damage that compounds every day

this unequal treatment continues.


    C. Females are suffering real harm that threatens their right to basic
        equality and equal opportunity.
    Women and girls had begun to believe that the measured and known
performance gap between males and females did not have to be viewed as a stamp

of male superiority, but rather as the understood physiological and biological

divergence between equally respected members of society. The sex of female

bodies, organized around and along divergent developmental paths, affects every

cell and system, from reproduction and muscular development to skeletal and

cardiovascular systems. Females had come to appreciate that these innate



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differences did not strip them of an expected place of equality and fair treatment.

Sport and physical competition is the one public place where males and females

have been guaranteed the right to celebrate their entirely independent and

incomparable physical limits under laws like Title IX. Now, these same rules are

being interpreted to remove women’s access to equal protection and equal

opportunities.
    Women’s sports were created and set aside to be a place where 50% of the

population could finally be included and seen as worthy of the title, “champion”;

where they could be held up as valuable members of schools, teams, and society.

    Now, the nation is being told that fair sports for women and girls was a lie. As

athletes, coaches, and parents of female athletes, we know that asking women to

compare their bodies to male bodies is not a just request. The athletes know the

competition is unfair. The coaches, officials, and sports scientists know the

competition is unfair. The parents and spectators know the competition is unfair.

And we all know exactly why. We even know that many of the male athletes taking

our positions and titles were not exceptional male athletes in comparison to other
males; they now serve as a reminder that a physically unexceptional male is entitled

to showcase physical prowess against women and demand women relinquish their

opportunity to compete, their place in the event, their hard-earned title, and even

their records. The girls and women must comply; the officials must congratulate;

the parents must cheer; and the records must be etched for all to appreciate the

reinforced reality that males are entitled to replace and show dominance over

females in what was once an equal society.

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    These policies and actions are violating the spirit of the formation of women’s

sports and laws like Title IX. People in positions of power are looking for the right

words to justify this deprivation of equal opportunity. As women, we can only think

that it is because we are “just women;” and that even our biological reality is a

debatable concept.

    The realization that the laws and rights written to protect women are being
used against females and the knowledge that people in power cannot or will not

see – even in a publicly visible contest – that females are not being treated with the

same respect and honor as men is a message that cuts deep into the psyche of

women. The women that have experienced this feel the weight of unequal

treatment, the stripping of rights, the loss of rewards, and the erasure of fair and

equal representation. Women feel the weight of the message that female physical

bodies are only good enough if they are able to compete with a physical

development of biology that does not match their own. Women see and hear the

rule makers and lawmakers argue the purpose of women’s sports and, indeed, that

the purpose of female athletes is to make a male athlete feel welcome and honored
above the female athletes. Girls and women hear the message that it is a female’s

job to consider our kindness above our demands for fair and equal treatment.

Female athletes are told that “there are only a few” male athletes who want to

compete against women, and so females must step aside and make room for them.

The awards and record boards, originally meant to help girls and women share new

possibilities for those of us born female, are rewritten with male names. Female

existence and accomplishment in sports is being erased, name by name. When

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women compete in races against males and compete on teams with males, females

know they are supporting the premise of male dominance; they are supporting the

idea that females can only respond with meek compliance when treated as less

than men; women and girls are forced to support the erasure of something females

were proud of and once esteemed for.

    As athletes, coaches, and parents of female athletes, what is our choice? To
cede to participate? To give up entirely? Do we not then also give away our rights

and our dignity? There is no solution for women and girls without the protection of

laws that recognize equal opportunity for females.

    The forced competition against males is humiliating. It cannot be fair or equal

and yet, girls and women must either walk away from sports opportunities or

accept the humiliation. Frustratingly, the rules and laws written for the expressed

purpose of equality have not been enough; states now need to write new laws on

top of the old ones to prevent the redefinition of the physical reality of being

female.

    A question being asked is if there is a way to make competition fair for women
while still including some of the males who wish to participate with women. This is

also an insulting proposition. Competition is how human beings find their physical

limits. It is an invitation to bring one’s absolute personal best and match it with the

personal best of others in a fair and clean contest. Bringing a body forward to

compete that is intentionally and artificially hindered is not in the spirit of that

ethos. The question the lawmakers and governing bodies of sport are asking as they

try to make guidelines to include males is just how much rules must impair male

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performance and development to be equated to that of women. This argument –

this experiment – is not empowering for women; it is damaging to an entire

generation of females. It is deeply misogynistic and demeaning. Girls and women

are not encumbered male bodies. Girls and women are uniquely and innately

female, and females should not have to fight for representation and see only

biology that does not compare to their own rewarded.
    As athletes, coaches, and parents of female athletes, we are hurt and shamed

that people in power do not find female athletes important enough to speak up for.

We are left to cry and sink into depression on our own as we embrace our new

understanding of girls’ and women’s place in the world. We are left with the shame

of not being able to compete physically with a male who wants our place, the

shame that laws have not been enough, the shame of losing while others cheered

in a competition with no integrity, the shame of seeing males so easily take over

that which was established for us, the shame of having to speak out for something

so plainly obvious, and the shame of having been silent, even if just for a moment,

while we suffered or watched other women suffer. Not one more girl should go
through this. Not one more parent should have to watch their daughter sidelined

for a male who is deemed more important than her fair and equal chance.

    The rules and record boards have not been fixed. We are not just haunted by

our memories and experiences. We are forced to reckon with a public record that

condones and historically celebrates our abuse and marginalization. This cannot be

the legacy we leave for women and girls; for millions of human beings who are born

female.

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        1. Reka Gyorgy, 2016 Hungarian Olympian, 2x ACC Champion
           from Virginia Tech
    I was a senior competing in my last swim meet at the NCAA Women’s

Swimming & Diving Championships on March 17th, 2022. I swam the 500 freestyle

in preliminaries where I got 17th, which means I did not make it back to the finals

and was first alternate. I watched Lia Thomas [a biological male] from the pool deck

win a women’s national title in a finals that I deserved to be in because the rules in
place did not support biological women. I couldn't help but cry and feel frustrated,

angry, and sad. It hurt me, my team, and other women in the pool. A year later,

there is still no response to my letter to the NCAA. This is an ongoing, painful

reminder of how little all the women at that swim meet matter to the people

running our schools and sports competitions.




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    Photo     1:     The   podium   at   the   2022   NCAA     Women's     Swimming

    and     Diving     Championships     where   a    male    took   the    place   of

    Reka Gyorgy.

          2. Macy Petty, current NCAA volleyball player

    While in high school, I competed in club volleyball tournaments across the

country with hopes of being recruited to a college volleyball team. At one of these

tournaments, with several college recruiters watching, I had to play against a boy
in a girls' volleyball tournament. While trying to evaluate our skills, the recruiters

instead watched this athlete repeatedly slam the ball in our faces. Because the girls'

volleyball net heights are different from boys’, this athlete was competing on a net

7.5 inches shorter than he should have as a male. As an athlete, this was

humiliating; as a woman, I was horrified to see a boy so easily steal the right to play

in brackets that were designed specifically to make volleyball safe and competitive




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for female bodies. I thought this was a mistake everyone could see, and it would

never happen again.

        3. Riley Gaines, 12x All-American, SEC Record Holder

    I have been a devout swimmer from the age of seven. It's hard to explain the

amount of time, hard work, and sacrifice I have made in an effort to be successful

at my sport. Every opportunity and every small victory along the way made the next
step possible.

    Last year, a 6'4" male (Lia Thomas) and I raced at the National Championships,

which ultimately resulted in a tie. Upon tying, I was told Thomas (the male athlete)

would get the trophy instead of myself as it was necessary for photo purposes.

Everything I worked my entire life for was reduced to a photo-op to validate a

male's feelings and identity of himself. All the women in the race faced unfair

competition and the silencing of our voices through intimidation, emotional

blackmail and gas-lighting by these large organizations and institutions.

    I still struggle with knowing the people who were supposed to shield us from

harm and make sure our sport is ethical were the same people who were silent and
allowed us to be discriminated against. This goes against everything federal civil

rights laws and Title IX were intended to protect. Women's sports were created to

recognize and celebrate the unique physical accomplishments of female athletes. I

feel neither recognized nor celebrated. I feel betrayed, belittled, and traumatized.

Please don't make any other women go through this.




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  Photo 2: Riley Gaines is forced to share the podium with a male.




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        4. Catrina Allen, World Champion in Disc Golf

    I have been playing sports since I was five, and although I’ve lost many times

over the course of my career, I’ve never felt as defeated as the day I had to compete

against a male opponent in the disc golf female professional division. As tears ran

down my face, during an elite series tournament, I realized that even though I have

a strict practice regiment, workout plan and am known as a fighter, there is no
outworking the physical advantages that a male has. I have since faced four

different males in the female category in 26 different tournaments. The worst part

is if the women speak out and share their feelings of defeat and frustration, they

fear loss of sponsorships and the very public wrath of those defending the male

athletes. The women feel helpless, scared, voiceless and isolated.




    Photo 3: A male becomes the women's champion in disc golf in competition
    against Catrina Allen and other females.

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         5. Hannah Arensman, professional women's cycling,
            Cyclocross National Champion
    I was born into a family of athletes. Encouraged by my parents and siblings, I

competed in sports from a young age, and I followed in my sister’s footsteps,

climbing the ranks to become an elite cyclocross racer. Over the past few years, I

have had to race directly with male cyclists in women’s events. As this has become

more of a reality, it has become increasingly discouraging to train as hard as I do
only to have to lose to a man with the unfair advantage of an androgenized body

that intrinsically gives him an obvious advantage over me, no matter how hard I

train.

    I have decided to end my cycling career. At my last race at the recent UCI

Cyclocross National Championships in the elite women’s category in December

2022, I came in 4th place, flanked on either side by male riders awarded 3rd and

5th places. My sister and family sobbed as they watched a man finish in front of

me, having witnessed several physical interactions with him throughout the race.

    Additionally, it is difficult for me to think about the very real possibility I was

overlooked for an international selection on the US team at Cyclocross Worlds in
February 2023 because of a male competitor.




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    Moving forward, I feel for young girls learning to compete and who are growing

up in a day when they no longer have a fair chance at being the new record holders

and champions in cycling because men want to compete in our division. I have felt

deeply angered, disappointed, overlooked, and humiliated that the rule makers of

women’s sports do not feel it is necessary to protect women’s sports to ensure fair

competition for women anymore.




        Photo 4: Hannah Arensmen misses the podium while a male takes her

        place.




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         6. Courtney DeSoto, parent of current high school track athlete

    I am the parent of a minor daughter who runs varsity track in a public school in

California. A male freshman joined the women's team this year and is running

varsity track and winning every race while the girls watch in bewilderment. This

same.

    individual is using the girl's locker room to change and shower. The girls are so
uncomfortable that some are not using the locker room themselves anymore. The

head coach is about to quit over the injustice of it all. Complaints and concerns for

the girls are made to school and district administration, but no one is willing to say

anything because our state laws and legislators will not protect our daughters. I

have a younger daughter who is also interested in sports, but I am concerned for

the future of all our girls.

         7. Jarrod Jacobi, father of high school ski athlete

    My daughter lives in a school district where alpine ski racing is a varsity sport.

On March 5-7, 2023, the CA/NV Interscholastic Ski & Snowboard Federation

(CNISSF) state finals for ski athletes occurred at Northstar (Tahoe). Forty to 50
schools were represented, with approximately 200 athletes in total. My daughter

worked hard all season and qualified to represent her high school this year.

    I was riding the chairlift with her when she told me that the overall winner of

the slalom race the day before, who placed third in grand slalom later that day, was

"trans." My daughter has a kind, supportive heart, but we must consider the young

ladies down the line (her included) who were displaced in standings by a biological

male. How might they feel? What if a few more biological males compete in the

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women's division next year, and the following year, more? Or she does not qualify

for state because she lost out to a biological male; or didn't get a college scholarship

for the same reason. These are not hypothetical questions; this is where we are

headed unless sane people, not afraid to point out the obvious, speak up and take

a stand.

    These kids – they are kids – live in the world adults have created. I don't blame
the winning athlete; this is a failure at the administrative level and higher. I'll point

out the obvious: you ruin women's sports by allowing males to compete in women's

sports.

    Speaking for parents of female athletes, are we just expected to "come to

terms" with this? No amount of hormone therapy or re/de-constructive surgery will

change the biological, muscular, and skeletal differences between those born with

XX and those born with XY chromosomes. The assumption is that when my

daughter competes in the women's division, she competes against other biological

females. She is not in a co-ed or open division.

    It is one thing to read about these things happening in other places; it is quite
another to witness it firsthand. This injustice to young women cannot continue

anywhere, especially not on my doorstep.

                                     Conclusion
    Every day that girls’ and women’s equal opportunity in sports is denied, is a day

that females suffer irreversible harm and psychological trauma. By reversing the

judgment of the district court, this Court can reaffirm that females have not lost

their equal opportunity to compete in sports on a level playing field and ensure that

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the basic right to be treated equally as a person born female is still the legal norm

in the United States.

    The judgment of the district court should be reversed.

                 Respectfully submitted,




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                                                           pro hac vice pending




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    This brief complies with: (1) the type-volume limitation of Federal Rule of

Appellate Procedure 29(a)(5) and Local Rule 29.1(c) because it less than the

maximum length limitation there allowed, excluding the parts of the brief

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                                      /s/Amos N. Jones
                                      Amos N. Jones




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